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                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF NEW YORK
                                            300 Quarropas Street
                                            White Plains, NY 10601


IN RE: Anka Kuharik, F                                      CASE NO.: 20−22127−rdd

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
xxx−xx−6741

                                               DEFICIENCY NOTICE

PLEASE TAKE NOTICE that, pursuant to the automatic dismissal provisions set forth in 11 U.S.C. § 521(i),
if: (1) you are an individual debtor or joint debtors, (2) you filed a voluntary case under chapter 7 or 13,
(3) you fail to cure those deficiencies identified by an asterisk [*] below, and (4) the Court does not grant an
extension of time or order otherwise, your case may be dismissed without further notice on or after the
forty−sixth (46th) day following the commencement of the case.

PLEASE TAKE FURTHER NOTICE that nothing herein modifies the deadline by which any document must
be filed under the applicable provisions of the Bankruptcy Code or Federal Rules of Bankruptcy Procedure, or
implies that the information contained in any filed document is adequate or sufficient. Additionally, the failure
to file any required document by such deadline may be cause for the dismissal or conversion of your case prior
to the forty−sixth (46th) day following the commencement of the case.

The current deficiencies in your case are listed below. If an asterisk [*] appears before a document listed below, the
document is a section 521(a)(1) requirement that, if not filed, would subject your case to the automatic dismissal
provisions (referred to in the first paragraph above).

Attorney Disclosure Statement due 02/07/2020                * Schedule E/F: Creditors Who Have Unsecured Claims
Statement of Your Current Monthly Income (Official          (Official Form 106E/F) due 02/07/2020
Form 122A−1) due 02/07/2020                                 Schedule G: Executory Contracts and Unexpired Leases
List of ALL Creditors Required on Case Docket (PDF          (Official Form 106G) due 02/07/2020
Format) due at time of filing                               Schedule H: Your Codebtors (Official Form 106H) due
Declaration About an Individual Debtor's Schedules          02/07/2020
(Official Form 106Dec) due 02/07/2020                       * Schedule I: Your Income (Official Form 106I)1 due
* List of All Creditors due at the time of filing           02/07/2020
Means Test Calculation (Official Form 122A−2) due           * Schedule J: Your Expenses (Official Form 106J)1 due
02/07/2020                                                  02/07/2020
* Schedule A/B: Property (Official Form 106A/B) due         Statement of Intention due 02/07/2020
02/07/2020                                                  * Statement of Financial Affairs due 02/07/2020
Schedule C: The Property You Claim as Exempt (Official      Summary of Assets and Liabilities due 02/07/2020
Form 106C) due 02/07/2020                                   Statement of Exemption from Presumption of Abuse
* Schedule D: Creditors Who Hold Claims Secured By          (Official Form 122A−1Supp) due 02/07/2020
Property (Official Form 106D) due 02/07/2020


All required documents must be filed timely. The document(s) appearing above must be filed with the Court by the
applicable deadline.
        1   NOTE: A debtor who has not filed Schedules I and/or J has also failed to provide the Court with
            the two statements required by section 521(a)(1)(B)(v) and (vi): "(v) a statement of the amount of
            monthly net income, itemized to show how the amount is calculated; and (vi) a statement
            disclosing any reasonably anticipated increase in income or expenditures over the 12−month period
            following the date of the filing of the petition." The filing of completed Schedules I and J
            satisfies the requirement of providing these two statements to the Court.

NOTE: No later than the time of the meeting of creditors conducted by the trustee pursuant to 11 U.S.C. § 341(a),
you must provide the trustee with copies of all payment advices or other evidence of payment received from any
employer within 60 days prior to the date of filing of the petition. See General Order M−382.


Dated: January 27, 2020
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                                                     Vito Genna
                                                     Clerk of Court
